Case 11-27934 Doc 629 Filed 08/14/12 Entered 08/14/12 14:01:52                          Desc Main
Document - Motion for Relief From Stay Motion for Adequate Protection                   Page 1 of 3




Dated: August 13, 2012
The following is SO ORDERED:


                                                    ________________________________________
                                                                 Paulette J. Delk
                                                       UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

  In Re:                                                 :   CHAPTER 11
                                                         :
  ARNOLD R. DORMER, JR.,                                 :   CASE NO. 11-27934
                                                         :
                                                         :   JUDGE PAULETTE J. DELK
                                     Debtor.             :
                                                         :
  CENLAR FSB,                                            :
                                                         :
                                     Movant,             :   CONTESTED MATTER
  vs.                                                    :
                                                         :
  ARNOLD R. DORMER, JR., Debtor,                         :
                                                         :
                                     Respondent.         :

                            CONSENT ORDER RESOLVING
                    MOTION FOR RELIEF FROM AUTOMATIC STAY,
               OR, IN THE ALTERNATIVE, FOR ADEQUATE PROTECTION

           The above-styled matter having been set for hearing on July 3, 2012 on the Motion for
  Relief from Automatic Stay filed by Cenlar FSB (“Movant”) (docket #487) and the Objection
  thereto by the Debtor (docket #494). Based upon the signatures of counsel below, the parties have
  agreed to resolve the motion as follows:


  J1103730TN
    Case 11-27934 Doc 629 Filed 08/14/12 Entered 08/14/12 14:01:52                             Desc Main
    Document - Motion for Relief From Stay Motion for Adequate Protection                      Page 2 of 3


              1.      Movant is an entity entitled to enforce a Note, secured by a Deed of Trust on real
      property commonly known as 4078 Mt. Terrace Road, Memphis Tennessee 38127 (the
      “Property”) and is owed an unpaid principal balance of approximately $60,612.59.
              2.      The parties have agreed to resolve the motion by deeming the claim of
      Movant secured to $22,000.00. The secured claim shall be amortized over 20 years, at a fixed
      reate of interest at 4.75% per annum, with a principal and interest payment of $142.17. The first
      installment shall be September 1, 2012 and shall continue through the maturity date of August 1,
      2032, at which time all outstanding amounts owing shall be due.
              3.      The undersecured amount of the Movant’s claim, approximately $38,612.59,
      shall be relegated to undersecured/usecured and treated as a general unsecured creditor in the
      Chapter 11 Plan.
              4.      The Debtors shall be responsible for all taxes and insurance and proof of the
      payment of the taxes and insurance coverage on the Property shall be provided to Movant
      yearly, or upon request.
              5.      Until the entry of the Order confirming the Chapter 11 Plan, if the Debtor
      fails to make the monthly mortgage payment set forth above beginning September 1, 2012.
      Movant shall send a letter notifying the Debtor and Debtor’s counsel of the default by first
      class mail. The Debtor shall have fifteen (15) days from the date of the letter within which to
      cure said default. If the Debtor fail to timely cure the default, Movant may file a Notice of
      Termination of Stay due to Default and relief shall be granted without any further notice or
      hearing and Movant shall have the right to proceed to foreclose or otherwise dispose of or
      take action including exercising state law remedies.
              6.      The terms of said Consent Order shall be incorporated into the Plan as treatment
      of the claim of the Movant, found at 4.63 – Class 63.
              7.      Upon entry of the Order confirming the Plan, all nonmonetary terms and
      conditions of the original Note and Deed of Trust shall be in effect.
              8.      If required, Debtors’ counsel shall serve this Consent Order on all creditors and
      parties in interest requiring notice of said Order and certify service o the same; and, any creditor
      or other partiy in interest may file an Objection to the Consent Order and the finality of the
      Order. If written objections are properly filed with the Court, and served upon counsel for the
      Debtor, counsel for the Moant and the U.S. Trustee as required, then the Court shall set a
      hearing on said objection. Accordingly, it is
      J1103730TN
    Case 11-27934 Doc 629 Filed 08/14/12 Entered 08/14/12 14:01:52                       Desc Main
    Document - Motion for Relief From Stay Motion for Adequate Protection                Page 3 of 3


              ORDERED that this agreement between the parties to resolve the Motion for Relief
      from Automatic Stay filed by Cenlar FSB, be and is made the Order of this Court.
              ORDERED that the terms of this Consent Order be incorporated into the final,
      confirmed Chapter 11 Plan.
              SO ORDERED.


      PREPARED BY and CONSENTED TO:

      /S/ Laura A. Grifka_________________
      LAURA A. GRIFKA, (B.P.R. 015119)
      Johnson & Freedman, LLC
      1587 Northeast Expressway
      Atlanta, GA 30329
      (678)298-8888
      (404) 417-4043
      LAGrifka@jflegal.com
      Attorney for Movant

      CONSENTED TO:

      /S/ Russell W. Savory by permission___
      RUSSELL S. SAVORY
      88 Union Avenue, 14th Floor
      Memphis, TN 38103
      901-523-1110
      russell.savory@gwsblaw.com
      Attorney for the Debtor




      J1103730TN
